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                  EXHIBIT B-154
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                                                                                                     FILEDINOFFICE

                                                                                            :
                          IN THE FULTON COUNTY SUPERIOR COURT
                                    STATE OF GEORGIA

INRE                                                            )         Case No.
SPECIAL PURPOSE GRAND JURY                                      }         2022-EX-000024

    EIGHT ELECTOR NOMINEES' OPPOSITION TO THE DISTRICT ATTORNEY'S
              SECOND MOTION TO DISQUALIFY COUNSEL AND
                       MOTION FOR SANCTIONS

         NOW COME the eight currently represented Republican elector nominees 1 ("elector

nominees" or "electors") and oppose the Fulton County District Attorney's (the "District

Attorney") Second Motion to Disqualify Counsel, showing this Court as follows:

                                               INTRODUCTION

         Despite the fact that disqualification motions filed by opposing counsel are strongly

disfavored and automatically deemed suspicious as improper tactical moves by the courts, the

District Attorney has recklessly filed their second pre-indictment disqualification motio°' without

any factual or legal basis. This second motion is an attempted re-tread of the first .such motion

already decided by this Court, supposedly propped up by new and salacious facts. In reality, these

new "f~ctual" allegations are complete fiction, as the indisputable evidence proves, and the DA

election team knew their claims could not possibly be true when they filed their Motion.




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  Defense counsel currently represents eight of the ten previously jointly represented Republican elector nominees.
When the DA's election team made actual, written offers of immunity to these eight electors in April 2023 but not to
the remaining two elector nominees previously represented by defense counsel, the decision was made, in consultation
with the non-immunized clients and an outside ethics expert hired after the first disqualification attempt to advise
defense counsel, for those two individuals to obtain individual counsel. Although defense counsel and the outside
ethics expert agreed that, for the reasons set forth in defense counsel's original opposition to the District Attorney's
first disqualification motion, there was no ethical impediment to Ms. Debrow's continued representation of all ten of
the electors, all of whom remain united in their innocence, all affected parties agreed that this new arrangement was
likely the most prudent and conservative course given the practicalities of the representation and the positions being
taken by the District Attorney's office. To protect the individual identities of the electors in this context and in the
context '.ofthe discussions of variou~ events relevant to and discussed in this opposition, the Court and the District
Attorney's office have been provided with a legend or "key" that identifies the eight currently represented clients and
the two former clients who have obtained individual counsel. Pursuant to that key, Electors A, B, C, D, E, F, G and J
are currently represented by Ms. Debrow.



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          The District Attprney' s Motion is reckless, frivolous, offensive, 8.Q.d
                                                                                 completely without

merit. This Court should recognize this second motion as the improper tactic that it is, deny the

Motion, and order the District Attorney to bear the costs of defense counsel's response m

opposition as sanction.

                          FACTUAL SUMMARY AND BACKGROUND

                                   A. April 2022 - March 2023

          Beginning in April of 2022 and before the Special Purpose Grand Jury ("SPGJ") was sworn

in on May 2, 2022, certain Republican elector nominees from the 2020 presidential election were

approached by the Fulton County District Attorney's Office (the "FCDA") to provide information

related. to its investigation into the 2020 Georgia general election. Each of those elector

nominees-and all others jointly represented--were told by the Fulton County District Attorney's

election team (the "DA's election team") that they were solely witnesses in the investigation, and
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each vpluntarily agreed, after consulting with counsel, to provide interviews to the FCDA. On

April 25 and April 26, 2022, the DA's election team-led by a private attorney contracted by the

FCDA to serve as a special prosecutor, Nathan Wade-interviewed two elector nominees; but the

DA's election team canceled the third scheduled interview, telling counsel that it and the other

voluntary interviews would be rescheduled.

          On June 1, 2022, while the remaining elector nominees were still waiting to hear from the

DA's election team about their voluntary interviews, the FCDA unexpectedly served SPGJ

subpoenas to appear and testify before the SPGJ in July 2022. Counsel for the jointly represented

elector nominees raised questions about these subpoenas in a letter addressed to the District

Attorn~y, but she never replied. Instead, the next communication the elebtor nominees received




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was a notification on June 28         from Mr. Wade that all eleven electo~ nominees were now

identified as targets of the FCDA investigation.

       Between April 25, 2022 and June 28, 2022, the elector nominees were transformed by the

FCDA from cooperative witnesses voluntarily agreeing to provide information for their

investigation to being publicly portrayed and treated by the District Attorney as putative criminals.

In light of this abrupt change and for other reasons, the jointly represented electors filed a Motion

to Quash and Disqualify on June 27, 2022, which this Court denied. As a result, three of the then-

jointly represented electors dutifully presented themselves pursuant to their subpoenas on July 26,

2022 to appear before the SPGJ. Before any of these three el~ctors were actually called into the

SPGJ, however, a legal impasse regarding the proper scope of Fifth Amendment invocations

developed between the DA election team and defense counsel. After a brief telephone conference

with the lawyers and this Court, this Court determined that, at defense counsel's request, the Court

would set the matter for a formal hearing at a future date. As a result, the FCDA excused the three

electors present from their SPGJ appearances and canc~led the appearances for the other jointly

represented electors before the SPGJ until after the Court's hearing on the legal issue.

       The very next day, on July 27, 2023, Mr. Wade sent the following email to the Court and

Ms. Pierson:

        Our office has received information prompting us to offer immunity to one or more
        of Ms [sic.] Pierson's clients in exchange for full and truthful testimony. This issue
        unfortunately gives rise to potential legal conflicts with Ms [sic.] Pierson's
      • representation, and we wanted to work through the best way of ~xecuting the offer
        seamlessly prior to the scheduling of any hearing. (See Exhibit 1).
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This email from Mr. Wade was especially odd, as the DA election team ~ad announced in open
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court during a hearing just a few days prior that the FCDA had no intention of ilTIIllunizingany of
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the jointly represented electors. In any event, it was this email communica}ion regarding potential




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immunity offers to some (unidentified) but not all of the jointly represented' elector nominees that

was the genesis of the FCDA'sfirst disqualification motion.

       In light of this email, the parties conferenced with the Court, and the Court instructed the

DA election team to send defense counsel an email outlining the type of immunity that it was

potentially offering. The Court declined the request by defense counsel that the DA election team

identify the individual electors to whom they intended to offer immunity. On Friday, July 28,

2022, the District Attorney's election team sent their email to defense counsel, and it stated, in

pertinent part, as follows:

       [O]ur office is prepared to offer one or more of your clients full immunity from
       prosecution for any acts taken related to the December 14, 2020, meeting at the
       Georgia State Capitol to execute purported electoral college votes in favor of
       former President Donald J. Trump and former Vice President Michael R. Pence.

       This immunity would be offered only on the condition that those clients identified
       must fully cooperate with our office's investigation related to the Special Purpose
       Grand Jury authorized by Chief Judge Christopher S. Brasher on January 24, 2022.
       This would include full and complete testimony before the Special Purpose Grand
       Jury and any other court proceedings that may be related to or result from the
       Special Purpose Grand Jury's investigation.

       Upon reaching an agreement, a formal proffer letter would be drafted and
       approved by the parties to memorialize all aspects of the agreement."

In this email, the DA election team again declined to identify a single elector client to whom it

intended to or was willing to off er immunity. Instead, they indicated that they had internally

divided the 11 jointly represented clients into 3 categories: (1) individuals to whom they are likely

to offer immunity; (2) individuals to whom. there is a possibility that they would offer immunity;

and (3) individuals to whom they are not offering immunity. The only category in which they
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were willing to identify any specific individuals, however, was the category of whom they were
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not interested in immunizing at that time. At no time during the joint representation of the eleven




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electors did the DA election team identify a single elector to whom it wishea to offer immunity or

offer actual immunity to any jointly represented elector .

      . In response to the FCDA's email, then-joint defense counsel Holly:Pierson sent an email

to the DA election team requesting clarification of the type and scope of immunity that was being

considered, and she asked for a blank draft immunity agreement for review. The DA election team

never replied.    Instead, on August 1, 2022, they filed a motion for leave to file their first

disqualification motion under seal.

      • In its teleconference with the parties on or about July 29, 2022, the Court had also agreed

to give counsel for the jointly represented elector nominees a week to consult with their eleven

clients about the FCDA's potential immunity offers and all other potential conflict of interest

issues raised and to report back to the Court and the FCDA on the outcome of those discussions.

Despite the FCDA's unwillingness to provide the basic information requested about the potential

immunity it might offer, joint counsel nonetheless promptly proceeded to advise all their clients

consistent with Georgia's Rules of Professional Responsibility regarding all matters relevant to

actual or potential conflicts of interest, including the potential implications of an as-yet

hypothetical immunity offer (or lack of the same) as follows:

           •     In separate, individual, written communications sent to each client on August 1,

                 2022, counsel explained: {1) the existence and possible implications of the FCDA' s

                 potential immunity offer(s), (2) whether such an offer would raise a potential or

                 actual conflict under Georgia law, specifically Georgia Rules of Professional

                 Responsibility Rule 1.7, (3) if such a conflict existed, then whether it is one that

                 could be waived, and (4), after consulting with independent counsel if they so




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                choose, each client's decision of whether to waive any such conflicts. (See Exhibit

                2) (submitted in camera).

            •   On August 3, 2022, counsel provided each client a thirteen-page, single-spaced

                memo consisting of original attorney work product that comprehensively outlined

                and explained all conflict of interest issues, the requirements for informed consent

                to joint representation (including their right to consult.with independent counsel on

                these matters, which some did), and their respective rights from their attorneys and

                from other jointly represented clients under Georgia law.          (See Exhibit 3)

                (submitted in camera).

            •   Immediately thereafter, counsel scheduled and held individual teleconference

                meetings (usually lasting at least an hour) with each client between August 3 and

                August 5 to explain the written communications and to address any questions or

                concerns.

            •   After each individual meeting, the client was provided a detailed Informed Consent

                to Continued Joint Representation waiver form to complete and return if they so

                chose after any consultation with independent legal counsel.        (See Exhibit 4)

                (submitted in camera).

       After reviewing the written information, consulting with counsel, and, in a few instances,

considering the input ofindependent legal counsel, the 11jointly represented clients unequivocally

chose to remain in the joint representation, and they each executed an informed consent form. (See

Exhibit 5) (submitted in camera).
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       As agreed in the July 29, 2022 teleconference, joint counsel notified the Court and the
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FCDA on August 5, 2022, that, after having been thoroughly advised by cpunsel and, for some,




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having sought the advice of independent legal counsel, all elector nomine~s elected to remain in

the joint representation. They also continued to maintain that they committed no wrongdoing or

criminal offenses and that they were unified in their innocence and common defenses. Defense

counsel further notified the Court and the FCDA that, after also having been thoroughly advised

~y their counsel, and for some, having sought the advice of independent legal counsel, all elector

nominees declined the FCDA' s offer of potential immunity "as presented at this time." (emphasis

added). The email explained this decision in detail as follows:

       Regarding the DA's potential offer of immunity to one or more of our clients, none
       of our clients are interested in that offer as presented at this time. While an offer
       of immunity from prosecution is enticing at first blush, [the elector nominees] all
       fundamentally distrust the motives and intentions of the DA and the investigative
       team in this case, due in part to the abrupt and unexplained change in each· of their
       statuses in the investigation from witness to target, in part to the abrupt decision to
       potentially offer iminunity to some of them after having stated in open court only
       days before that the DA had no intention of immunizing any of them, and in part to
       their perception that this investigation into their lawful conduct is not based on (or
       even interested in) the facts or the law but instead is politically motivated.

       Our clients, therefore, have grave concerns that if they were to be offered immunity
       from prosecution, accepted that offer, and then told your team and/or the grand jury
       the truth -- which is that neither they nor the other electors committed any illegal
       act or engaged in any sort of conspiracy with regard to the 2020 election -- the DA
       and your team would not accept that truth, especially because you have represented
       that you have evidence to the contrary. In such a scenario, our clients believe that
       the DA's Office is likely to threaten to or actually charge them with perjury or false
       statements to law enforcement officials or similar after their truthful, immunized
       testimony merely because the immunized witness is not in a position to tell the DA's
       Office or the grand jury the story they want to hear. Our clients also believe that
       other similar risks of wrongful prosecution are rife under the facts of this
       investigation, and the proffered potential immunity does not address or insulate
       them from these risks. At this time, our clients are unwilling to expose themselves
       to the serious risks inherent in the potential immunity as proffered.

       Additionally, our clients believe (as do we) that they are already immune from any
       successful prosecution because they did not and could not have committed any
       crime in relation to the 2020 election and for the other reasons outlined above.

(Emphasis added).




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       On October 3, 2022, the District Attorney filed their first Motion to Disqualify Counsel.
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Joint defense counsel filed-their response in opposition on November 10, 2022, and provided to

the Court in camera copies of several attorney-client privileged documents; including the August

3, 2022 thirteen-page memo. Both the Court and the FCDA were provided copies of the extensive

Informed Consent Waivers executed by each of the elector nominees. Each of those eleven

Informed Consents affirmatively verified that each client had been fully informed about the alleged

conflict of interest concerns raised by the District Attorney, which, of course started with and

included the potential immunity offers.

       This Court ruled on the District Attorney's first Motion to Disqualify on November 30,

2022. In that Order, this Court determined that the August 3 memo and the Informed Consent

Waivers signed by each client satisfied the requirements of Rule l.7(b) with respect to all potential

conflicts at the pre-indictment investigation phase of this matter, with the exception of Chairman

David Shafer, whom the Court ordered severed from the other ten electors. {Order at p 5-7). The

Court also expressly stated in that Order that it had reviewed in camera "the.thirteen-page, single-

spaced memorandum Pierson and Debrow provided each client addressing tlie concerns raised by

the District Attorney about persisting with joint representation and the risks and benefits of doing

so." (Order at 4, n. 4) (emphasis added).

       After consulting with each client, as well as a number of experienced practitioners, Pierson

and Debrow, who are in separate law firms, dissolved their previous co-counsel relationship, with

Ms. Pierson representing Mr. Shafer going forward and Ms: Debrow staying on as counsel for the

remaining ten elector nominees. Through email communication, the DA election team strongly
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objected to this arrangement, but on December 6, 2022, this Court agr~ed that Pierson and
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Debrow's proposed arrangement was not prohibited by the Georgia Rules of Professional




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Responsibility or the law. In denying the FCDA's objection, the Court iJstructed the parties in
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their reply to notify the Court if any problems arose in the future to which[any "good faith legal
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objections" could be made.

       On December 14, 2022, Ms. Debrow, as defense counsel for the ten jointly represented
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electors, contacted DA election team via email to again gauge any interest in continuing

conversations regarding immunity and the next steps for the remaining ten ~lector nominees (See

Exhibit 6). The DA election team did not respond until four months later.

                              B. April 23, 2023 Immunity Offers

       On April 4, 2023, defense counsel received a phone call from Mr. "o/ade "in response to"
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the December 14th email. Mr. Wade stated that the FCDA now wanted to convey actual immunity

offers to eight of the ten jointly represented elector nominees. Defense counsel notified all ten

clients about the State's offer. Per defense counsel's request, the FCDA sent draft immunity letters

to defense counsel on April 7, 2023, and those letters were shared with the:clients to whom they
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were directed. Additionally, defense counsel individually followed up with each client via

telephone to advise about the risks and benefits of accepting the offer. Based on the details in the

actual immunity offers that addressed some of counsel's previous concerns and counsel's current

assessment of the risks and benefits of the immunity offers, all eight of the electors who were

offered immunity accepted.




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        •Interviews pursuant to the accepted immunity offers occtmed as follows:

                      Date and Time                    Elector Nominee              Exhibit (ill camera)
              April 11, 2023 at 3:00 p.m.                      A                          (none)
                                                                                          :
              April 12, 2023 at 9:30 a.m.                      B                             10
              April 12, 2023 at 1:00 p.m.                      C                             11
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              April 12, 2023 at 4:00 p.m.                      D                             12
              April 14, 2023 at 9:00 a.m.                      E               :          ! 13

              April 14, 2023 at 11:00 a.m.                     F                             14
              April 14, 2023 at 1:00 p.m.                      G                             15
              To be scheduled 2                                J                          (none)


            Each of these interviews were conducted and completed as scheduled. At no time during

or after any of these interviews did the DA election team state that they believed an elector was
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incriminating another jointly represented elector or that they believed a conflict of interest had

arisen. Furthermore, at no time during or after any of these interviews did the DA election team

infonn this Court that they believed they had a new, good faith obj~ction to !he joint representation

or that they believed defense counsel had made a misrepresentation to this Court. Instead, the DA

election team proceeded with a week-long interview schedule apd filed their motion without a
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word to defense counsel or this Court. These interviews were recorded by both the FCDA and

defense counsel, and defense counsel has had six of the seven interviews transcribed. 3 Those

transcripts are being submitted to the Court in camera for its review.

            With respect to Elector Nominees H and I, defense counsel immediately acted upon

learning that they were not being offered immunity to determine whether it was either necessary


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 Elector,i}also accepted the offered immunity but was out of the country during this time.: As such, the FCDA has
agreed to keep the offer open and schedule his interview at a later time.                 i
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  Defense counsel's recording of Elector A's interview is conupted, and it is unclear whether the computer ~xperts
will be able to restore it. The DA election team, however, has their own recording of this int~rview should any portion
of it become relevant. Additionally, defense counsel has extensive and cqmprehensive notes taken during the
interview, and there is nothing that interview that is relevant in any way to \he District Attorney's claims in their
Motion. Elector A was not asked about prior potential immunity, and she did not incriminate herself or any other
elector.                                   ,                                                   !



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of a "minister of justice." See Nat'l Prosecution Stds., Nat'l Dist. Atty. Assoc. 3d ed, available
                                                                                            '
at: https ://ndaa. org/resource/national-prosecution-standards-third-edition-updated-2009 / (stating

that the dignity and honor of the [prosecutorial] profession call for compliance with a higher

standard of conduct, and when a prosecutor's conduct falls below this national standard, he or she

may expect sanctions impacting a pa1iicular case or the individual prosecutor.)

           B.       No Elector Nomi~e Ever Indicated That They Had Not Been Informed of Any
                    Potential Offer of Immunity During the Joint Representation.

           In April 2023, the DA election team approached defense cmmsel for the first time with

actual immunity offers for eight of the remaining ten represented electors·. After reviewing the

actual, written offers of immunity, each of those eight electors accepted their immunity offer.

Pursuant to those immunity agreements, the DA election team sought interviews with those eight

electors, and seven of those interviews were accomplished between April 11 to April 14, 2023. 5
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The recordings and transcripts of those interviews conclusively disprove the District Attorney's

contention that some of the immunized electors "told members of the investigation team that no

potential offer of immunity was ever brought to them in 2022." See District Attorney's Motion at

4. Specifically, Mr. Wade of the DA's election team questioned only three of the electors about

supposed prior offers of immunity, 6 and the transc1ipts of those intervi~ws have been submitted to

the Court in camera. As the transcripts reveal, Mr. Wade never asked a single elector in their

interview whether they were ever told in 2022 that they could potentially be offered immunity by

the Distdct Attorney, as the District Attorney misrepresents in their Motion, id.; instead, Mr. Wade
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asked th6m if they knew or had heard before April 2023 that they spe7ifically were offered

immunity.


5                                                                                            '
 The interview of the eighth immunized elector could not occur in this time frame as the elector was out of the country,
but an agreement was reached to schedule that interview either by Zoom or upon the elector's return.
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    Electors D, E, and F.


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or prudent for them to obtain their own independent counsel. Defense counsel consulted with

Clients H and I and with the outside legal ethics expert hired to advise defense counsel after the

first disqualification dispute. Although defense counsel and the outside expert concluded that, for

the reasons set forth in defense counsel's original opposition to the District Attorney's first
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disqualification motion, there was no ethical impediment to defense counsel's continued

representation of the electors (all of whom remain united in their innocenc~), all affected parties

agreed that the most conservative and practical course was for Electors H and I to obtain

independent counsel. Electors H and I immediately began the process of securing new counsel,

and they have each now obtained their own independent counsel.



                       ARGUMENT AND CITATION OF AUTHORITY

    I.      The District Attorney's Accusations that Counsel for the Eleven Then-Jointly
            Represented Elector Nominees Failed to Share Information Regarding
            Unspecified Potential Offers of Immunity with Every Client in August 2022 A_re
            Entirely and Provably False.

         The District Attorney's accusations that then-defense counsel either failed to apprise the

jointly represented clients of the District Attorney's potential offers of immunity in 2022 or that

Ms. Pierson misrepresented that fact to the Court are demonstrably and entirely false, and they

knew these claims were false when they filed their second disqualification motion. As discussed

in greater detail above, the only actual offers of immunity from the District Attorney were made

on April 4, 2023. Any immunity discussion prior to that date were highly generalized, non-

individualized "offers to offer" potential immunity to undisclosed recipients.
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         Yet, despite the DA election team's repeated refusal to identify any Flector to whom they

were willing to actually offer immunity, and despite their refusal to engage ~ith counsel or answer
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basic questions regarding the scope and other logistics of even a potential immunity offer, defense



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counsel for the jointly represented electors thoroughly and repeatedly di~cussed every known

aspect of the potential immunity with the elector nominees in writing and in follow-up, individual
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teleconferences. Indeed, as set forth above, on August 1, 2022, Ms. Pierson sent each client a
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written communication citing verbatim the email language from the DA's election team about the

generalized potential offers of imrimnity, as well as the verbatim email language of the questions

Ms. Pierson sent to the DA' s election team in response. Counsel then provided a separate thirteen-

page, single-spaced memo to each client on August 3, 2022, almost three sµigle-spaced pages of

which were devoted to the potential immunity issue itself.          Finally, counsel had follow-up
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conference calls, usually lasting about an hour, with each client, to discuss figain all the potential

conflict of interest issues raised between August 3rd and August 5th , including a full discussion of

potential offers of immunity and the implications for that client if such immpnity were eventually

offered to them. In its November 30, 2022 Order, this Court acknowledge~ that Ms. Pierson and

Ms. Debrow's disclosures fully satisfied the Georgia Rules of Professional Responsibility.
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       A.      The District Attorney Knew Before They Filed Their Motion That Their
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               Potential Offers of Immunity Had Been Disclosed to and Discussed With The
               Electors.

       The potential offers of immunity are the very issue that ignited the District Attorney's first

disqualification motion. See July 27, 2022 Email from FCDA to Judge McBurney and Holly

Pierson, supra (claiming that potential offers of immunity raised conflict of interest concerns).

The District Attorney raised the potential immunity issue directly in their first attempt to disqualify

counsel, and it was addressed by both parties in their briefing.

       This Court's November 30, 2022 Order ruling on the first disqualification motion noted

that defense counsel had addressed all of the issues raised by the District Attorney, which
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necessarily included the potential immunity issue: this Court specifically stated that it had




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reviewed in camera ''the thirteen-page single-spaced memorandum Pierson land Debrow provided
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each client addressing the concems raised by the District Attonzey about persisting with joint
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representation and the risks and benefits of doing so." See November 30,: 2022 Order at 4, n. 4

(emphasis added). 4

         The District Attorney knew from the first disqualification litigation that the potential
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immunity issue had been disclosed to and discussed with the jointly represented electors and that

defense counsel had presented sufficient evidence to satisfy this Court that they had discharged

their ethical responsibilities on this very issue. Unless the District Attorney .is suggesting that this

Court failed to do what it explicitly said it had done, the District Attorney cannot in good faith

believe or truthfully assert that their potential offers of immunity had not been discussed with the

jointly represented electors.

         The District Attorney also knows, as the interview transcripts and recordings definitively

prove, that no elector ever told any member of the DA election team that potential offers of

immunity were not brought to them in 2022, as discussed in greater detail below. Knowing all of

that, however, they have the audacity to publicly accuse Ms. Pierson and Ms. Debrow of making

misrepresentations to the Court about these matters knowing that accusation is false, while they

themselves are misrepresenting to this Court that "some of the electprs represented by Ms. Debrow

told members of the investigation team that no potential offer of immunity was ever brought to

them in 2022" (FCDA's Motion at p. 4)                  This conduct is well beneath the ethical standards for

any lawyer, and it certainly is not the heightened duty of candor to the court and integrity demanded


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  At the time, the District Attorney's Office was insistent that discussions regarding potential immunity remain
confidential, and this Court granted that request.. As such, this Court's Order did not identify all of the specific issues,
including potential immunity, that were addressed in the thirteen-page memo. But the pistrict Attorney's Office
certainly knew that potential immunity was the very first concern that it had raised in their July 27, 2022 email to the
Court and again in their first disqualification motion. And this Court's order plainly stat!!d that all of the District
Attorney's concerns were addressed in the client memo, which, of course, they were.             i


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of a "minister of justice." See Nat'I Prosecution Stds., Nat'I Dist. Atty. Assoc. 3d ed, available

at: https ://ndaa. org/resource/national-prosecu tion-standards-third-edi tion-updated-2009 / (stating

that the dignity and honor of the [prosecutorial] profession call for compliance with a higher

standard of conduct, and when a prosecutor's conduct falls below this nation.alstandard, he or she

may expect sanctions impacting a particular case or the individual prosecutor.)

         B.       No Elector Nominee Ever Indicated That They Had Not Been Informed of Any
                  Potential Offer of Immunity During the Joint Representation.

         In April 2023, the DA election team approached defense counsel for the first time with

actual immunity offers for eight of the remaining ten represented electors .. After reviewing the

actual, written offers of immunity, each of those eight electors accepted their immunity offer.

Pursuant to those immunity agreements, the DA election team sought interviews with those eight

electors, and seven of those interviews were accomplished between April 11 to April 14, 2023.5

The recordings and transcripts of those interviews conclusively disprove the District Attorney's

contention that some of the immunized electors "told members of the investigation team that no

potential offer of immunity was ever brought to them in 2022." See District Attorney's Motion at

4. Specifically, Mr. Wade of the DA' s election team questioned only three of the electors about

supposed prior offers of immunity, 6 and the transc1ipts of those interviews have been submitted to

the Court in camera. As the transcripts reveal, Mr. Wade never asked a single elector in their

interview whether they were ever told in 2022 that they could potentially be offered immunity by

the District Attorney, as the District Attorney misrepresents in their Motion, id.; instead, Mr. Wade

asked the_inif they knew or had heard before April 2023 that they specifically were offered
                                                                                             i

immunity.


5 The interview of the eighth immunized elector could not occur in this timeframe as the dector was out of the count1y,

but an agreement was reached to schedule that interview either by Zoom or upon the elector' s return.
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6 Electors D, E, and F.                                                                      •


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                                                                           i
       The transcripts further reveal that Mr. Wade was deliberately trying to manufacture this
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narrative about the immunity issue by intentionally misleading and confusing these electors,
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suggesting in his questions that these electors were specifically or indivi~ually offered actual
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immunity last year (during the joint representation), despite his knowledge that no such actual

offers of immunity were made before April 2023. When defense counsel attempted to correct and

clarify the confusion, she was activ"elyresisted by Mr. Wade each time. In one case, discussed in .
                                                                           I




more detail below, Mr. Wade made outrageous threats and engaged in intimidation tactics in front

of the elector being interviewed when Mr. Wade believed the recording had stopped, threatening

to revoke their immunity and indict them (which he has no authority to do), all to try to silence

defense counsel and prevent the truth from coming out.

              1. April 14, 2023 Interview with Elector E.

       By far the most egregious and aggressive attempt by Mr. Wade to mislead an elector with

regard to the potential immunity/actual immunity issue occurred during the interview of Elector

E. This interview occurred immediately after Elector D's interview, discussed below, in which

defense counsel had been forced to step in to clarify the misleading questions Mr. Wade asked

about immunity. Despite his knowledge that no actual offers of immunity were made to any elector

and defense counsel's earlier clarification of Mr. Wade's misleading questions, Mr. Wade asked

Elector Ea series of questions designed to deliberately confuse and mislead them. Worse, when

defense counsel again attempted to make the same necessary clarification she made in Elector D's

interview, Mr. Wade threatened and attempted to intimidate both defense counsel and Elector E.
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       In particular, Mr. Wade first asked Elector E, "When did you first hear that you would get
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offered immunity?" See April 14, 2022 Transcript of Interview of Elector E, p. 35, lines 19-20.
                                                                               i

Reasonably understanding that Mr. Wade was referring to the recent, actual, written offer of




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immunity, Elector E answered that he did not know, that defense counsel ha~ told him about it, he
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thought he had also seen it in the news, and that he thought it was in the last month or two months.
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Id. at p. 35, lines 21-25. Elector E subsequently clarified that he was offerbd this current written
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immunity approximately a week before his interview. Id. at p. 35, lines 20-24.

        Knowing that the District Attorney's recent, actual, written offer of immunity was the

immunity Elector had accepted and to which Elector E had been referring in his answer, Mr. Wade

nonetheless then asked Elector E "And you -- you declined? You didn't want immunity?" Id. at p.

36, lines 6-7. Although he gave no indication of this fact, Mr. Wade's question clearly referred

not to the actual written offer of immunity that Elector E had just been discussing but, instead, to

the jointly represented electors' earlier declination of undefined and unspecified potential

immunity in November 2022. Obviously confused, Elector E answered, "I didn't decline." Id. at

p. 36, line 8.

        At that point, defense counsel was compelled to interject a clarification once again on the

record because of Mr. Wade's misleading questions. Unlike the interview of Elector D two days

previously, however, in which defense counsel was able to make the necessary clarification

uninterrupted, this time Mr. Wade aggressively resisted defense counsel's efforts, attempted to

silence her, and-after ordering his investigator to stop the recording-resorted         to overt threats

and attempted intimidation against both counsel and client. Id. at pp. 26, line 12- 22; pp. 36-47;

p. 42, line 3. Defense counsel's own recording continued to capture the exchange, however, and

it is fully and accurately reflected in the transcript of this interview submitted to the Court.

       While he thought the recording had stopped, Mr. Wade threatened that if defense counsel
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persisted in trying to make this simple and truthful clarification, he would terminate Elector E's

interview, "tear up" his immunity agreement (which was already binding a~d in force) and indict




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him. Id. at pp. 43, lines 16-19; p. 44, lines 2-5 (MR. WADE: "Here's the µeal. Here's the deal.

Either [Elector E] is going to get this immunity, and he's going to answer ~e questions - and talk
    .                                                                        I
(inaudible) wants to talk -- or -- or we're going to leave. And if we leavJ, we're ripping up his
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immunity agreement, and he can be on the indictment. That's what can;happen.") (emphasis
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added). Even more outrageous, Mr. Wade insisted on making these inflanimatory (and baseless)

threats in the presence of Elector E, despite defense counsel's repeated !requests that counsel
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discuss the matter outside of Elector E's presence. Id. at p. 43, lines 11-12 (MS. DEBROW: "Mr.

Wade, can I talk to you outside please?"); p. 43, lines 20-22, 25; p. 44, Ihle 1 (MS. DEBROW:

"I'd like to speak to you outside the presence of [Elector E] ... because what you what you are

doing is intimidating").

        Despite Mr. Wade's intentionally misleading questions about immunity, the heated

exchange between Mr. Wade and defense counsel, and Mr. Wade's threats t9 "tear up" Elector E's

immunity and indict him, Elector E nonetheless confirmed in their interview (during the segment
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of the interview that Mr. Wade had instructed his investigator not to recdrd) and again in their

Declaration (Exhibit 8) that potential immunity had been discussed with him by defense counsel

back in 2022 when the first conflict of interest issues were raised by the District Attorney. Id. at

p. 42, lines 9-23. Elector E's interview, therefore, refutes the DA election team's claims.

               2.     April 12, 2023 Interview of Elector D.

        Knowing that his question was untrue, Mr. Wade first asks Elector D, "You were at least

on two occasions offered immunity, yes?" See Transcript of April 12, 2023 Interview with Elector
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D at p. 1:26,lines 16-17 (emphasis added). When Elector D expressed suqjrise and confusion in
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        11                                                                   ,

respons'e to _thatquestion, Mr. Wade then asked, "You just signed a doc
                                                                             1 ent that gives you
immunity. We're not prosecuting you. The document says you have imrriunity; you signed it.
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    Was that thefirst time that you had ever been offered immunity?" Id. at p. 27, lines 1-14 (emphasis
                                                                                  I
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    added).' When Elector D responded
                                 ,
                                      that they did not recall that they hadI ever personally been
                                                                                  I
    offered immunity until this present opportunity, id. at p. 27, lines 16-19, Mr.Wade doubles down
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    on his attempt to mislead, stating, "Yeah. It would have been a Jewmonths:back, you would have

    got everything offered [to} you." Id. at p. 27, lines 20-22 (emphasis added):

           At that point in the interview, defense counsel stepped in, made the ~ecessary clarification
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    between the generalized discussions of potential immunity in 2022 when~ the District Attorney
'                                                                                 !
    declined to make any actual offers of immunity to any elector and the current specific written

    immunity offer to this elector. She further indicated that she did not want her client to be misled

    by Mr. Wade's questions. Id. at p. 27, line 27-28; p. 28, lines 1-12. Even with Mr. Wade's

    misleading questions, however, Elector D testified affirmatively that they knew there had been

    previous discussions regarding potential immunity with the District Attorney, but that to their

    knowledge, no actual or specific offer of immunity had been made to them. Id. at p. 28, lines 16-

    22, 24-25; p. 29, lines 4-10. (Elector D further confirms these accurate facts in their Declaration,

    attached as Exhibit 7). In short, Elector D's interview also refutes rather tha,nsupports the District

    Attorney's false allegations.

                   3.      April 14, 2023 Interview with Elector F.

            Two days later, in an interview with Elector F, Mr. Wade again failed to ask about any

    prior discussion of potential immunity offers but instead only asked whether Elector F had heard

    about any actual offers of immunity:
                                                                                      '
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           ~R. WADE:                When did you first hear about this immunity?/
           ,,
           :1


           ELECTORF:                Last week.

           MR. WADE:                Okay. And any time before that?




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       ELECTORF:               Nope.

       MR. WADE:               Never heard about any immunity offer at alli

       ELECTORF:               No.

See Transcript of April 14, 2023 Interview of Elector F, p. 71, lines 8-16 (emphasis added).

Nowhere in this exchange or elsewhere in Elector F's interview were they asked whether they had

earlier heard of or discussed the District Attorney's prior non-specified, non-individualized,

potential offers of immunity; instead, Elector F was only asked whether. they had heard of an

actual immunity off er before the previous week, and they truthfully and accurately testified that

they had not. (Elector F further confirms these facts in their Declaration, attached hereto as Exhibit

9). Elector F's interview, therefore, provides no support for the allegations in the District

Attorney's Motion.

               4. Elector Declarations confirming defense counsel's disclosure and discussion
                  of the District Attorney's "non-offers" of potential immunity in 2022.

       Although the transcripts of the interviews themselves unequivocaIIy prove the falsity of

the District Attorney's allegation that "some of the electors represented by Ms. Debrow told

members of the investigation team that no potential offer of immunity was ever brought to them

in 2022," each of the electors who were asked such questions about immunity by Mr. Wade are

disturbed by the District Attorney's Motion mischaracterizing their interviews and attacking their

current and former counsel with false accusations. They have, in an abundance of caution,

confinned in written declarations the obvious and known truth - that they were fully briefed in

writing :andverbally by then co-counsel during the joint representation in August 2022 about the
       "
DA elebtion team's non-specified, potential offer to offer immunity and :that they were never

personally offered any actual immunity from the District Attorney until April 2023. (See Exhibits

7, 8, and 9) (unredacted versions submitted in camera).



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         In sum, as the documents previously submitted to this Court during ie first disqualification
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dispute and this Court's November 30, 2022 Order definitively esta~lish, then co-counsel

repeatedly and thoroughly covered all aspects of the DA election teal's                    I
                                                                                                potential offer of
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immunity to unspecified electors with each of their jointly represented clients in 2022. 7 The DA

election team knew these facts at least as of November 30, 2022. No elector stated otherwise to
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the DA election team in their recent interviews, as the transcripts of those itlterviews confirm, and

the electors to whom the DA election team posed any questions about prior alleged "offers" of
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immunity in their interviews have submitted declarations re-affirming these facts.

         On behalf of the DA's election team, Mr. Wade repeatedly attempted to create, through·

intentionally misleading and confusing questions, a false narrative on the immunity issue in these

interviews. Worse, Mr. Wade aggressively resisted attempts to clarify the record on that issue in

one interview, resorting to egregious intimidation and threats directed to both defense counsel and

Elector E. Despite knowing this, the District Attorney still filed their motion accusing defense

counsel of having made misrepresentations upon the Court when the evidence proves it is they

who are simply not telling this Court the truth. Their allegations about the immunity issue are

plainly false, and their own interview recordings prove that fact. The Distri~t Attorney has falsely

but publicly maligned the integrity of two well-respected and fellow members of the Bar based on

fictional claims known to be untrue when made. Such reckless and unprofessional conduct is

simply untenable and unacceptable.




7
  While those documents and this Court's November 30, 2022 order are more than sufficient on their own to establish
these facts, defense counsel has submitted to the Comt in camera its August 1, 2022 Emaifto each of the then-jointly
represented clients as even further, additional confirmation of additional discussions on the potential immunity issue
at that time. See Exhibit 2.



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    II.       The District Attorney's Conclusory Allegations That Certain Represented
              Electors Are Supposedly Incriminating Other Represented Electors Is False.

          In their motion, the District Attorney makes only the barest contlusory allegation that

during the recent interviews, "some of the electors stated that another elector represented by Ms.

Debrow committed acts that are violations of Georgia law and that they were not party to these

additional acts." See District Attorney Motion at 4. This statement is categorically false, and

provably so. 8 First, defense counsel, who previously served as an Assistant District Attorney in

Clayton, Dekalb, and Fulton Counties before reentering private practice, was present for every

interview and would have alerted to any statements made by her clients even remotely resembling

the alleged statements claimed by the District Attorney to have been made.· Nothing even similar

to any such statements were made by any of the interviewed electors: none of the interviewed

electors said anything in any of their interviews that was incriminating to themselves or. anyone

else, and certainly not to any other elector represented by defense counsel. 9 .




8 Because this allegation is false, the authority cited by the District Attorney in their motion is inapposite. See
                                                                                                                  District
Attorney Motion at 5-8 (citing Heidt v. State, 292 Ga. 343 (2013) and Edwards v. State, 336 Ga. App. 595 (2016)).
Additionally, the inapplicability of these specific cases to this pre-indictment context was previously addressed at
length in defense counsel's opposition to the District Attorney's first motion to disqualify counsel. See Response in
Opposition to State's Motion to Disqualify Counsel at 7; 11, n. 6; 31 n. 17; 35 and 35 n. 18, as was the Georgia
appellate court's post-Heidt rejection of the "serious potential for conflict" ground advocated by the District Attorney
as a basis for disqualification. Id. at p. 11, n. 6. Defense counsel incorporates as fully set forth herein the legal and
factual points and analysis in that first opposition, including its discussion of informed consent.
9
  As noted, none of the interviewed electors made statements that anyone else had "commi~ed acts that are violations
of Georgia law." And because the District Attorney has not provided even the slightest factual basis for their assertions
otherwise, it is impossible to determine whether the supposed statements to which they are:referring even supposedly
apply to any of the eight electors currently represented by defense counsel. 1t is entirely possible - but impossible to
discern from the District Attorney's motion - that whatever statements the District Attorney is (wrongly) asse11ingare
incriminating pertain to electors that defense counsel does not even represent, which would eliminate the entire
premise of the District Attorney's motion.                                                   '



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         Indeed, several of the electors pointed out in their interviews that they had do~e nothing

wrong, 10 that they had acted on advice of counsel 11 and in conformity with prior legal precedent
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(the dual slate of electoral ballots executed and sent to Congress in the dontested 1960 Hawaii

presidential election) 12, and that they had only contingently or provis~onally executed their

electoral ballot as a precaution to preserve the remedies in the pending judicial contest to the

presidential election and to protect the ability of Georgia to have electoral votes in the event that

the then-pending judicial challenge in Georgia was successful. 13

         This Court need not take defense counsel's word for the fact that none of the electors

incriminated themselves or each other- these interviews were recorded, six of the seven interviews

have been transcribed and submitted to the Court, and the District Attorney can (and should)

provide any statements it believes to be incriminating to defense counsel and to the Court so that
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the Court can verify for itself whether such statements or supposed incrim~ation is anywhere to
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be found in the actual interviews.

         In reality, the transcripts collectively show that no elector nominee~ incriminated another

elector. First, as noted, the recordings and the transcripts on their face are devoid of any such



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   See, e.g., April 12, 2023 Transcript oflnterview of Elector D, p. 24, lines 5-16 and p. 26, lines 8-16; April 12, 2023
Transcript oflnterview of Elector G, p. 16, lines 22-23; April 14, 2023 Transcript of Elector E, p. 35, lines 8-12 and
p. 61, lines 5-10; April 14, 2023 Transcript oflnterview of Elector F, p. 34, lines 24-25.
11 See, e.g.. April 12, 2023 Transcript ofElector D, p. 11, lines 18-23; p. 14, lines 11-25; p. 33, lines 12-17; p. 36, lines

11-14; p. 61, lines 22-23; p. 62, lines 7-12; see also Transcript of Elector C, p. 33, lines 5-8.
12
  See, e.g., April 14, 2023 Transcript oflnterview ofElector G, p. 16, lines 23-25; April 12, 2023 Transcript of Elector
D, p. 10, lines 4-11; p. 34, lines 24-25; p. 35, lines 1-13; p. 36, lines 5-14; p. 57, lines 14-25; April 14, 2023 Transcript
of Elector E, p. 26, lines 5-17; April 12, 2023 Transcript ofElector C, p. 33, lines 10-15; April 14, 2023 Transcript of
Elector F, p. 26, lines 2-7 and p. 29, lines 17-20; April 12, 2023 Transcript of Interview bf Elector B, p. 31, line 25
and p. 32.,lines 1-2.                                                                             '
13
                                                                                                !
   See, e.g., April 12, 2023 Transcript of Elector D, p. 10, lines 1-11; p.22, lines 22-25; p. 23, lines 1, 3-10; April 14,
2023 Transcript of Elector E, p. 14, lines 11-18; p. 15, lines 4-12; April 14, 2023 Transcript of Elector F, p. 31, lines
6-11; p. 39, lines 7-12; p. 60, line 25; p. 61, lines 1-6; April 12, 2023 Transcript of Elector~. p. 37, lines 21-25; p. 38,
lines 1, 22-25; p. 39, lines 1-3; April 14, 2023 Transcript of Elector G, p. 13, lines 7-25; p. 14, lines 1-6; p. 15, lines
2-4 and 16-25; p. 16, lines 1, 3-4, and 17-25; April 12, 2023 Transcript of Elector B, p. 29,ilines 23-25; p. 30, lines 1-
15.


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 statements. Second, the District Attorney has provided no information - bither in their publicly
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. filed motion or in their private conversations with the Court and defense counsel about the motion
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 - identifying any of the alleged specifics of this supposed incrimination or any other information

 that would permit either the Court or defense counsel to identify to whom or what they are
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 referring: they have refused to identify which elector(s) supposedly made such statements, which

 statements they believe contain this supposed incrimination, which other: elector was allegedly
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 incriminated, what the alleged "criminal activity" they are alluding to supposedly is, and so on.
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        The simplest explanation for the District Attorney's refusal to pr6vide this information

 either publicly or privately to defense counsel and this Court is that they cannot - because it does
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 not exist. All of the electors remain united in their collective innocence and defenses, and none

 testified or believe that they or any other elector committed any wrongdoing, much less "criminal
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 acts." And, even if Georgia law permitted such blanket, conclusory as$ertions as a basis for

 disqualification, neither defense counsel nor this Court can or should simply take the DA election
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 team's word on this explosive but unsupported claim.                             !

        Georgia law, in fact, requires much more than such conclusory and speculative statements

 for the District Attorney to have standing to file and to adequately support~ motion to disqualify

 counsel. "For an attorney to have standing to raise the issue of an opposing lawyer having a

 conflict of interest in simultaneously representing multiple plaintiffs or defendants, there must be

 a violation of the rules which is sufficiently severe to call in question '.thefair and efficient

 administration of justice" and the party seeking disqualification "must prrvide substantiation."
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         :                                                                        I
 Bernacchi
       ,
           v. Forcucci, 279 Ga. 460, 463 (2005), (citations omitted) (emphasis
                                                                         I
                                                                               added); see also
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 Life Ca~·eCenters of America v. Smith, 298 Ga. App. 739, 745(3) (2019) (ctbsenceof evidence of
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 wrongdoing by counsel, "[b]eyond conclusory allegations," does not justify disqualification)




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(emphasis added); Lewis v. State, 312 Ga. App. 275, 289-90 (2011) (ove~uling disqualification
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as an abuse of discretion when "the case for disqualification consist[ed] cif one conjecture piled
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upon another"); see also Schaff v. State, 304 Ga. App. 639, 642(1) (201p) (speculation cannot
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support disqualification); Clough v. Richelo, 274 Ga. App. 129, 135-136(l)(b) (2005) (mere

speculation is no basis for disqualification).
                                                                                i
       In their motion, however, the District Attorney has provided only conclusory, speculative,
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and unsupported allegations that electors are inc1iminating another represeµted elector. Not only

are these allegations affirmatively disproved by the interviews themselves, but they are facially
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insufficient for the District Attorney to even file their motion, much less to justify disqualification,

as a matter of law.

       The DA election team's behavior in conducting th"einterviews at issue further indicates

that they do not actually believe that any of the electors incriminated another represented elector.

Specifically, as noted, this Court had expressly told the District Attorney's '.officein its December

6, 2023 email that if any perceived problems arose from defense counsel's continued joint
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representation, the DA election team should reach out to the Court, and th~ Court would address

the matter. If the DA election team had truly believed during one or more of the recent elector

interviews that one of defense counsel's clients was incriminating another one of her clients, the

natural (and arguably only appropriate) response would have been to stop the interview, alert

defense counsel to the conflict that it perceived had then arisen, and then seek the Court's guidance

on how to resolve the matter, as the Court had explicitly instructed and invited the DA election

team to do.
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       :The DA election team took none of those steps. They complete4 all of the scheduled

interviews over the course of several days, they did not raise any supposed incrimination or conflict




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concerns with defense counsel at any time during or after those interviewsi and they did not reach

out to the Court (as they had when they first raised the disqualification issue on July 27, 2022, and

as they had done on innumerable occasions throughout this investigation) for assistance in
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resolving this perceived issue. Instead, the DA election team completed all the interviews and then

blindsided defense counsel and this Court with a public filing filJed with unparticularized and

provably false assertions. This behavior is not that of attorneys behaving professionally and

ethically who harbor a genuine concern that opposing counsel is laboring under an actual conflict.

        In short, there is no merit to the District Attorney's claim that any elector incriminated

another in their recent interview, and the recordings and transcripts prove it. In the absence of

such supposed incrimination, there is no basis for the District Attorney's motion and, thus, it

should be denied.

   m.      Even if the District Attorney's Allegations Were True, Which They Are Not,
           There Is Not and Cannot Be a Disqualifying Conflict When the Elector Nominees
           Are Immune from Prosecution.

       •As noted throughout this opposition brief and supported by the interview transcripts, none

of defense counsel's clients have incriminated themselves or any other elector. They remain united

in their collective defenses and in their lack of knowledge of any wrongdoing, much less criminal

activity, by any other elector. But even if this were not the case, frankly, what prosecution could

come from it? Each of the clients represented by defense counsel has accepted the District

Attorney's offer of immunity from prosecution and have upheld their end of the bargain to keep

said protection. Whether they incriminate each other or not at this point (which they have not),

none can be prosecuted by the District Attorney.

        The only involvement that defense counsel can possibly have at ~his point is to attend

additional interviews (if the DA election team requests them) of one or more of her immunized




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clients, produce requested documents on their behalf, and/or to assist one oi more such immunized

clients to testify before a grand jury or at a non-client's trial. There sim~ly is no actual conflict
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and no real likelihood of any potential conflict. Indeed, the District Attorney has not even made

(and cannot truthfully make) an argument that there is or can be one under these circumstances. 14

         Because defense counsel's clients all have immunity, the likelihood that any scenario

involving a conflict either could or will arise is virtually nil. But if that unforeseeable circumstance •

should come to pass in the context of some future proceeding, there is no evidence to suggest that

defense counsel would not or could not dutifully identify and resolve such a conflict. Regardless,

the District Attorney will again have the opportunity to attempt to· seek redress from the then-

presiding judicial officer or court.

         Given the near impossible chance of any conflict existing between any of the jointly

represented, immunized clients even if they were incriminating each other (which they are not),

the District Attorney's motion and attempt to disqualify counsel begs the question of what relief

can they properly even ask of this Court? In their motion, the District Attorney requests that

defense counsel be disqualified and "prevented from any further participation in this matter." See

District Attorney Motion at 7 and 8 (emphasis added). The only current "matter" before this Court

is its service as the supervising judicial body to the Special Purpose Grand Jury, which is now




14
   As noted, the District Attorney's motion is devoid of any actual factual information regarding these alleged
incriminating statements from which defense counsel or the Court can discern the supposed basis for these allegations
or which electors have supposedly been "incriminated." In their motion, however, the District Attorney has proceeded
and relied upon their assumptions that defense counsel continues to represent all ten1 of the previously jointly
represented electors when, as noted above, defense counsel only currently represents the:eight immunized electors.
To the extent that the elector whom the District Attorney believes has been "incriminated" is no longer represented
by defense counsel (information which cannot be discerned or known from the solely conqlusory statements made by
the District Attorney in their motion), then none of the District Attorney's allegations are even relevant, even if they
were true (which they are not). Had the DA election team bothered to extend the most basic of professional courtesies
by raising this issue and the other issues addressed herein with defense counsel before t!1eyrecklessly and publicly
made these false allegations in their motion, this entire unnecessary debacle could easily have been avoided.



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dissolved. See, e.g., January 24, 2022 Order Impaneling Special Purpos~ Grand Jury. This case

still remains unindicted and defense counsel's clients now have full immunity from prosecution
                                                                            i

by the Fulton County District Attorney. Whatever the District Attorney is doing in this case at this

time, it is not pursuant to, on behalf of, or for the purpose of the dissolved: Special Purpose Grand

Jury. Thus, to the extent that the District Attorney is seeking to disqualify defense counsel in any

context outside of and beyond the Special Purpose Grand Jury, is improper.



                        CONCLUSION AND PRAYER FOR RELIEF,

      The District Attorney's Second Motion to Disqualify is factually and legally baseless, and

it should be denied. Additionally, although it will not begin to undo the damage that the District

Attorney's Motion has so recklessly caused, for the reasons set forth herein, the District Attorney

should be ordered by this Court to bear the cost of defense counsel having to respond to their

Motion and any other relief this Court deems reasonable.

       This 5th day of May, 2023.

                                                  Respectfully submitted,




                                                                 ouglis ebrow
                                                                o.231480
                                                  Stricklan   ebrow LLP
                                                  246 Bullsboro Drive, Suite A
                                                  Newnan, GA 30263
                                                  (404) 683-4402
                                                  kbdebrow@stricklanddebrow.com




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                               CERTIFICATE OF SERVICE

       I hereby ce11ifythat I have filed the' foregoing Opposition to State's Second Motion to

Disqualify Counsel with the Clerk of Court of the Fulton County Superior Court and that date-

stamped copy will be hand-delivered to the Fulton County District Attorney's Office today.

       Respectfully submitted this the 5th day of May, 2023.




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            Exhibit 1
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                       Case 1:23-cv-03721-SCJ Document 1-166 Filed 08/21/23 Page 32 of 69

From:Nathan Wade
Sent: Wednesday,Ju
To: Holly Piers.on




               3.llcl
Judge Mc13tm:iey_  Attol'l,leyP,ierso_n:                                                                                   \
                                                                                                                           I
             -                   -         -                                                                               I   -              --                 -
·we understand the Court is''cl.11T¢nrly iii the process of scheduling a hearing at the.requestofMs Pi~ori_ to ad~ss issues_concerning tlietestimony of her clients, 11
 of the.16'"altern;iteslate_ofelectqrs.'; Our office has ~ecievedinfonruitioripfoiiiptingus to ·offer immunity to one or_hioreof Ms Pierson's clients in excliangefor full
 and truthfultestimo11y.Th,i~:i~suerilifortu.hately{!~es tjse to poten:tiallegal conflic~ ,vith Ms Piers9q's rep~senfatiort; and we wal).tedto \york tlu'oiight11;.pest ,vay of
 exl!cµtin,gthe;oic;r 5.eani,les~jy_l)~Qri:o:
                                           thi: sc_hc;?~g of any hellljµg: Ple~se adyise                                   :

Nathan J,Wade
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            Exhibit 2
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            Exhibit 3
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            Exhibit 4                                 I
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      ,                                                                I
     INFORMED CONSENT TO CONTINUED JOINT REPRESENTATION
     ,,
     ,,
      I

     :! I,     ____________                 __, am one of eleven Georgia Republican

presidential elector nominees jointly represented by HollyA Piersoµ of Pierson Law LLC
                                                                       I
and Kimberly Debrow of Strickland Debrow LLP ("my lawyers"). At the beginning of this
                                                                      I
joint representation, the risks and advantages of this joint representation were explained
                                                                       !

to me, including but not limited to potential and actual conflicts of interest, and I

knowingly and voluntarily decided to accept those risks and participate in the joint

representation.

           Because the Fulton County District Attorney's Office has1 raised the issue of
                                                                       i


conflicts of interest and has signaled its intention to attempt to disqualify my attorneys
                                 '
                                                                        II
from continuing to jointly represent some or all of the jointly reiresented clients, my

attorneys have provided me with a comprehensive written memqrandum outlining in
                                                                        i

detail ,my right to conflict-free representation, the applicable provisions
                                                                     I
                                                                            of the Georgia
                                                                        i
Rules of Professional Responsibility relating to the duty of loyalty, tp conflicts of interest

with ,current and former clients, the advantages and dis~dvantages of joint

representation, the alternatives to the joint representation, and the requirements for

waiver of a potential or actual conflict and continuing in the joint representation,

including my right to consult with independent counsel about these matters before

deciding whether to continue with the joint representation.           In short, I have been

provided
      •,
         the information required by the Georgia Rules of Profess,ional
                                                                 l
                                                                        Responsibility,
                                                                           I



incluJing Rule 1.7 and Rule 1.9, necessary for me to decide whethe~ to continue with the
          l!                                                               I




joint representation and, if so, to provide informed consent to do so!I
                                                                           I
                                                                            I




                                          Page 1 of3
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      • Additionally, I have discussed this memorandum and the joint representation in
                                                                        '

detail with my lawyers, and they have answered all questions or concerns that I have about
                                                                    !
it to my satisfaction. I understand the information that has been provided to me,

including the risks involved in joint representation. Having carefully considered all of the

information provided by my attorneys in writing and verbally, including the
                                                                   !
disadvantages of joint representation and the alternatives to joint representation, and

having had the opportunity to consult with independent counsel, I wish to continue in the

joint representation, and I oppose and object to any effort to disqualify my attorneys from

representing me or my ability to continue in this joint representatio'n.

           In doing so, I knowingly and intelligently consent to the continued joint

representation, waive to the fullest extent possible under the law all potential and actual

conflicts of interest that currently exist or could arise among or. between the jointly

represented individuals. I further knowingly and intelligently consent to and waive any

objection to the fullest extent possible under the law to any potential or actual conflict of

interest that could arise if my lawyers decided to or were forced to withdraw from

representing me but decided to and were allowed to continue to represent other clients in

the joint representation. I have agreed and do agree to waive to the fullest extent possible

under the law any later claim that my lawyers' prior joint representation of me disqualifies

them from continuing to represent other clients in this matter orin any other proceedings.

           I further represent that I am unaware of any information that I possess that can or

would: create a potential or actual conflict between me and any of the other 10 Georgia

Republican presidential nominee electors relating to the 2020 election. Specifically,I did
      ,I

       i
not commit any unlawful act in relation to the 2020 presidential el¢ction, including but
                                                                            i

not limited to my acts as a Georgia Republican nominee presidential elector, and I have

                                            Page 2 of3
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no knowledge or evidence that any other elector, including the 10 other Georgia

Republican presidential nominee electors jointly represented by my lawyers, committed

any unlawful act in relation to the 2020 presidential election, including but not limited to

their acts as Republican nominee presidential electors.




                                                 Signature



                                                 Printed Name



                                                 Date




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            Exhibit !5
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            Exhibit 6
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            Exhibit 7
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             IN THE FULTON COUNTY SUPERIOR COURT
                       STATE ·oF GEORGIA     i                        I




  INRE                                              )     Case No'.
  SPECIAL PURPOSE GRAND JURY                        )     2022-EX-000024
                                                                      I




                   .DECLAIMTION.OF

1. My name is                I am over 21 years of age and otherwise competent
   to make this declaration.

2. In December 2020, I served as a Republican presidential elector nominee in the
   State of Georgia.

3. From approximately early April 2022 through late November or early December
   2022, I was represented by Kimberly BomToughsDebtow and Holly Pierson in
   connection with the Fulton County District Attorney's and the Special Purpose
   Grand Jury's investigation into the 2020 presidential election.

4. On August 1, 2022, I received an email from my lawyers that, among other
   things, notified me that the District Attorney's office had raised the issue of
   potential i:1mtn1n.ity
                       0ffo1i$losonie, blit i1ot all, of the jointly represented electors.
   ~p¢~ifical}y,the einail stated in telev.antpart:

          Potential Immunity Offers. Later in the week last week, Nathan
          Wade (the "lead" prosecutor on this part of the investigation),
          reached out to Judge McBurney to say that the DA Team had
          "received information" prompting them to offer immunity to one
          or more of you in exchange for "full and truthful testimony." In the
          DA's vlew, offering some but not all of you this "im,munity''could
          create a conflict of interest for Kim and me in continuing to
          represent all of you.

5. The August 1, 2022 email continued, and it quoted the specific email that the
   District Attorney's office had sent to my lawyers,and the,:one1ny la.Wyerssent
   in response -to the Di_stri¢tAttorney's office 1:equestingadditional foformation
                                                                  I

   about these potential immunity offets.                     /
                                                                  i

6. The August l~ 2022 email then let me know that additional, detailed discussions
   about the potential immunity offers and any other conflict of interest conce1ns
                                          1                       I
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 Case 1:23-cv-03721-SCJ Document 1-166 Filed 08/21/23 Page 47 of 69




   would be necessary and forthcoming:

          Next Steps. So, where do we go from here? In ddditimi to the
          conflict vetting that we pe1formed at the begipning of this
          representation, we will need to speak with each of you about that
          matter flnd see whether, based,upon these developments, you now
          perceive or foresee any conflicts with the other electors whom we
          represent, including whether you perceive conf1icts if another
          elector/client is offered and/or accepts immunity when you are
          not. Additionally, we will need to discuss the DA Team's view on
          the conflict issue, as well as any potential or actual conflicts that
          could be raised by the DA Team and/or the Court, as well as the
          legitimacy or lack oflegitirnacy of these conflict concerns and any
          others that we can posit based on the current facts.

          Once we have discussed all of that, ifwe do identify any potential
          or actual conflicts, we will discuss the ramifications of those with
          you, pro and con. Finally, if there are any such conflicts, we will
          discuss with you whether they are waivable and, if s6, whether you
          want to waive them. You also have the right under the Georgia law
          to consult with independent counsel about these matters.

         After we have had this conflict discussion again in light of the DA's
         potential offer of immunity and them raising potential conflict
         issues, we will decide with you either (1) there are no potential or
         actual conflicts, or (2) there are potential or actual conflicts that can
         be waived. If the latter, and you believe it is in your best interests
         to waive such conflicts (after consultation with independent
         counsel if you so choose), then we will need to docutnent all of this
         information and process in writing with you to comply with
         Georgia law and ethics rules.
                                                                  I


7. On August 3, 2022, I received from my lawyers a thirteeh page, single-space
   111emorandumaddressing all of the matters highlighted in\the August 1 email.
   Aln1ost three pages of that memorandum specifically ad~fressedin detail the
   District Attorney's potential offers of immunity and all the possible implications
   from those potential offers.                                   j




8. On August 4, 2022, at 4 p.m. while I was in               I participated in a
   Zoom meeting with my lawyers in which we discussed all bf the information in
                                                                  i
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    Case 1:23-cv-03721-SCJ Document 1-166 Filed 08/21/23 Page 48 of 69




       •their August 3, 2022 memo; including the District Attorney's potential offers .of
        i'inmunity.                                              ,     • •

   9. Any claim that the District Attorney has niade that 1 was not informed abot1t
      their potential offer of immuliity in 2022 is untrue. My 1~wyerstoid me -about
      it h1 at least two written cmnmunications, :and it wa~ .discussed •in those
      doc1,11nentsand in our follow up teleconference iri detail.

   l 0. Th~ first actual offer of immunity that I received from the District :Attorney;
                                                                                     s
       offic~ was the offer Irece-ived•inApril 2023, which I accepted.         •

   1l. In my intervfow with the District Attorney's team on April 12, 202~ pursuant
      to my iri1ml111ity agreement, Mr. Wade asked me questiohs that appeared to
      :sµggest that the Distdct Attorney;s .office had previously offered. me actual
      itn111unitym 2022, but I up.detstoodthatthis was not true. l knew -there were
      discussions of potenth1l irmnunity fn 2022; but I understood that the District
      Attorney's· ·office would. riot at that time identify any elector to whoin they
      wished to offot immunity or provide necessary details about the scope and
      consequences of those potential off~rs to my lawyers.

   12. Ip.the April 12, 2023 interview,J truthfully testified that 1 was awar~that thete
      were earlier discussions ~bout immunity with the District Attorney's office and
      my lawyers, b1.1tthat the only actual offer ofimmunity that had been maoe to me
      was the one in April 202,3.

  l deblare under penalty ofpeijUcy that the foregoihg is true ;a11clcorrect
                                L1.th
               Executed this the_1_·-_-dayof May; 2023.




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             Exhibit 8
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                                                                          II
                  IN THE'FULTON COUNTYSUPE.IUORCOURT
                            STATE OF GEORGIA                              I
                                                                          I

       J                                                                  I
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     IN:I{E                                                      Case No.i
     Sf:tClA.I,,PUilPOSEGRAND JURY                               2022..EX}000024
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                   DECLARATIONOF
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l. Nly name is                                     . Jam ovet2_1 years ofa~eand :<;;orhpe!ent
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   rn;akethis Dec atat1on.
                                                                              II




2.




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3. Acc;ording to ~y records~Lreceiv¢dJm ~mail on Augµst d2022,. from on·eof
   the attorneys' representing ,Tie at .that time notifying In~ thc1t the District
   Attorney's office h~d inc,ii9ated that th~re was a: pos•sibjlity thµt offers of
   imrnunity 'front prosecutipn may he i)iade available to som¢, but nQt all; ortne                0




   jointly represented elector!;,.SpecificaJl:y,the .eniail I r~c~iv~d state_din -relevant
      part1
      ',i. ,,
           ',
           .'                                                                          I

                ~'Potential Immunity Offers, Lat~r in th~weekJas_tweek, Nathan
                Wad¢ (the "lead" rfrose.clitbt 011- this patt of the if!Vestigation),
                reached out to Judge Mc.$urney to say that the .DA Team had
                •iteceived infon:nationll prompting them t9 offer i11rniurtityto one
                01· ITi,qre.qfyou
                                in exc:hangefor ''full and truthful testirnoily,'; lri the
                 DA'fvie\\', offeringsome butnotall oJyoll this"ininiw1it)"'could
                create a co1tflict of interest for Kitn ai,d me i,1 tp1ttinuing· to
                represent all of you/;
                                                                                           I




4. T½eAugust J, 2.02~,:ernail_          attonteys qu,oted the e~a~fthat the·Pistrict
                                from ITIY:
   Attorney's .o,fflceha_dsentthem and the one my lawyers'sent .m response to the
   District Att9rney's office requesting additional inforrilation about these
      potential irrrmunityoffe1·s.

 5. TlwAugust l, 2022, email ~rsoin_fortnedme that additional d~~ailedd1scµssions
    about the potential imrnunhy offers; a11dthe conflict of inter~st ¢qncern§·,would
                                                                                               I
Case 1:23-cv-03721-SCJ Document 1-166 Filed 08/21/23 Page 51 of 69



                                                                !
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  b:enecessary and forthcoming; the email stated as follows: I

        HNext Steps. So, where do we go from here? ln a~dition to the
        conflict vetting that we performed at the begin'ning of this
        representation, we will need to speak with each ofy:ou about that
        matte1"and see whether, basedoL1po11   thes·e develop1iiei1ts,yoll no\.v
        perceive or foresee any conflicts with the other electors whom we
        represent, including whether you perceive conflicts if -another
        elector/client is offered and/or accepts immunity ,vhen you are
        not. Additionally, ,ve ,viii need to discuss the DA Team's view on
        the conflict issue, as well as any potential or ac-tual conflicts that
        could be raised by the DA Teani and/or the Cou1t, as well as the
        legitimacy oi"lack oflegitin1aC-yof these conflict co1icernsand a11y
        othei·s that we can posit based on the current facts.

         "Once we have discussed all ofthat, if we do identify;any potential
         or actual conflicts, we will discuss the ra111_ifications
                                                                 of those with
         you, pro and con. finally, if there are any such cont)icts, ,, 1e will
         discuss with you whether the.yare-waivable and, if:so,,whether you
         want to -..vaivethe1il. You also have-the right under the Georgia law
         to consult with inde,pendent counsel about these matt~rs.

         "After we ha,;e had this conflict discussion again if) light of the
         DA's potential offer of immunity and them raisi•ng pott!ntial
         conflict issues, we ,-viii decide with you either {I) there are no
         potenrial or actual conflicts, or (2) there are potential or actual
         conflicts that can be waived. If U1elatter, and you believe it is in
         your best interests to waive such conflicts (after consultation with
         independe11t counsel if you so choose), then we \-viii need to
         document all of this information and process in w!'iting with you to
         comply with Georgia law and ethics rules."

6. A~cording to my records,_on August 3, 2022, I also received from niy lawyers
   a thirteen-page, single-spaced memorandum addressing tl~e matters in their
   August I, 2022, emai I. Almost three pages of that memor'ancluli1specifically
   add1·essed in detai.l the District Attorney's potential offers of itnmunity and
   possible implications from those potential offers.

7, Soon after receiving the August 3, 2022, memorandum (I do not recall the exact
   date), I had a telephone conference with my lawyers in which they reviewed the
                                        2
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  ir)formation in their August 3, 2022, memo1·andunt,in.eluding the District
  Attorney's potential offers of immunity lo soine of th.e ele~tors and the
  p:ossibility-ofconflicts ofinteresuunong the ele~tors if one.or more accepted an
  offer of i 1nmunityand agreed to provide testimony in the inve_stigationbut other
  electors declii1edan offer' gf imnmhity. I told my la\.\ryetsthat I would do what
  they advised; they prepared and l signed an "Informed Consent to .Continued
  Joiht Representation" on August 8, 2022, \Vaivingany conflicts of interest.

8. As my records show, and I do recall; I was informed about a potential offer of
   immunity in Allgllst of 2022: my lawyers told me about it inthe August I, 2022,
   email and the August 3, 2022, memorandum,.anc;lit was also discussed in our
   follow up telephone confei"ence.

9. The August I, 2022, email and the August 3, 2022, memonmdum also told me
   that I could hire independent counsel to revie\v all qf the information and
   a11alysisprovided and to advise me about it r hired Attorney-             to
   perform these functions,              me that Twas well l'epresentedand that
   l should do:what Ms, Debrow and Ms.Pierson advised me,t9 do, which I did.

I 0. I received the offer of irninunity from the District Atto_mey's office in April
   2023,,which Taccepted, and in which .fagreed to c1.nswer questions. On April 14,
   2()23, in the presei'ice of my attoniey Ms_.Debrow and an 'investigator·from the
   District Attorney's office, J was interviewed by Mr. Nathan Wade of the District
   A;ttorney's office and l provided truthful answers to all of the questions I was
   a$ked by Mr. Wade~to the. very best ofmy ability.
                                     '




IL lnmy interview tmApril 14, 202J, some ofthe,questions that! was.asked about
   immunity were confusing. I have reviewed-thetranscript of the interv_iewand it
  appears that \-vhenJ thought we ,.verediscussing .the date of the actt1a,loffer of
   imhJunity n1ade to me irfApril 2023, Mr:.\Vade.·,vasactually asking about the
   first time I ever heard about the potential offers of immunity- and that was last
   A,µgust,2022-,when I rece\ved the email and memo from my attorneys and had
   the telephone conversation ,.viththem, as stated above. As the transcript shO\.vs,
   1 ti"uthfullytestified that my lawy~rs h4d discussed potential immunity offers
   w'.tthme •'inthe pasi also1' (Tr.pA6).                        i


I deelate under p,e11alty
                        of pe1jury that the.foregoing is tn1e and :corre.Gt.
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                 Exhibit 9
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                  IN THE FULTON COUNTY SUPERIOR COURT
                            STATE OF GEORGIA      I
                                                                   I



        INRE                                          )    Case N~.
        SPECIAL PURPOSE GRAND JURY                    )    2022-EJX-000024
                                                                   !

                       DECLARATION OF

      I. My name is                       I am over 21 years      ofage and otherwise
         competent to make this declaration.

      2. From approximately March through December 2020, I s~rved as a Republican
         presidential elector nominee in the State of Georgia.     J


                                                                   I


      3. From approximately early April 2022 t~rough late November or early
                                                                   1

         December 2022, I was represented by Kimberly Bour:roughs Debrow and
         Holly Pierson in connection with the Fulton County District Attorney's and the
         Special Purpose Grand Jury's investigation into the 2020 presidential election.
                                                                   I
      4. On August 1, 2022, I received an email from my lawy¢rs that, among other
         things, notified me that the District Attorney's office had raised the issue.of
         potential immunity offers to some, but not all, of thJ jointly represented
         electors. Specifically, the email stated in relevant part i
                                                                   '
                                                                   I
               Potential Immunity Offers. Later in the week last week, Nathan
  '
               Wade (the "lead" prosecutor on this part of the ;investigation),
  I
  1
               reached out to Judge McBumey to say that the PA Team had
               "received information" prompting them to offer immunity to one
               or more of you in exchange for "full and truthful testimony." In
               the DA's view, offering some but not all of you this "immunity"
               could create a conflict of interest for Kim and me it) continuing to
               represent all of you.

      5. The August 1, 2022 email continued, and it quoted the specific email that the
         Disn-ictAttorney's office had,sent to my lawyers and the ~memy lawyers' sent
         in response to the District Attorney's office requesting additional information
         about these potential immunity offers,                    '
                                                                   I
      6. The August 1, 2022 email then let me know that ! additional, detailed
         discussions. about the potential immunity offers and any other conflict of
                                            2
Case 1:23-cv-03721-SCJ Document 1-166 Filed 08/21/23 Page 56 of 69




      interest concerns would be necessary and forthcoming:

            Next Steps. So, where do we go f~·omhere? In ~ddition to the
            conflict vetting that we perfonnecl at the beginning of this
                                                                 I

            representation, we will need to speak with each of!you about that
            matter and see whether, based upon these developri:ients,you now
            perceive or foresee any conflicts with the other elettors whom we
            represent, including whether you perceive conflicts if another
            elector/client is offered and/or accepts immunity iwhen you are
            not Additionally, we will need to discuss the DA Team's view on
            the conflict issue, as well as any potential or actual conflicts that
            could be raised by the DA Team and/or the Court~as well as the
            legitimacy or lack of legitimacy of these conflict concerns and
            any others that we can posit based on the cuITentfacts.
                                                                 !

           Once we have discussed all of that, ifwe do identjfy any potential
           or actual conflicts, we will discuss the ramifications of those with
           you, pro and con. Finally, if there are any such cohflicts, we will
           discuss with you whether they ate waivable and, !if so, whether
           you want to waive them. You also have the right under the
           Georgia law to consult with independent couns~l about these
           matters.                                             !
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           After we have had this conflict discussioi1 again in light of the
           DA's potential offer of immunity and them ra{sing potential
           conflict issues, we will decide with you either (11)there are no
           potential or actual conflicts, or (2) there are potential or actual
           conflicts that can be waived. If the latter, and you believe it is in
           your best interests to waive such conflicts (after consultation with
           independent counsel if you so choose), then we will need to
           document all of this information and process in w~iting with you
           to comply with Georgia law and ethics rules.
                                                                 I
  ,7. On August 3, 2022, I received from my lawyers a thi1teen page, single-space
      memorandum addressing all of the matters highlighted in the August 1 email.
                                                             1
      Almost three pages of that memorandum specifically addressed i,1 detail the
      District Attorney's potential offers of immunity and Iall of the possible
      implications from those potential offers.              '.
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   8. Between August 3 and August 5, 2022, I participat~d m an individual

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         teleconference with my lawyers in which we discussed ~11of the information
         in their August 3, 2022 memo, including the District/ Attorney's potential
         offers of immunity.                                  :
  I                                                         '         i
  '9. Any claim that the District Attom~y has made that I wi s not informed about
                                                                      1

      their potential offer of immunity in 2022 is untrue. My l~wyers told me about
      it in at least two written communications, and it was discussed in those
      documents and in our follow up teleconference in detail I

      10. The first actual offer of immunity that I received from the District Attorney's
         office was the offer I received in April 2023, which I accepted.

      11. In mf interview with the District Attorney's team on April 14, 2023 pursuant
         to my immunity agreement, I was not asked whether I knew that the District
         Attorney's
                  .
                      office had raised potential immunity to some  I
                                                                      of the electors in
         2022. I was only asked about actual offers of immu*ity, and I truthfully
         testified that the only actual offer of immunity that had been made to me was
         the one in April 2023.                                     /

      I declare under penalty of perjury that the foregoing is true arid correct.
                                                                      I


             Executed this the q--rlL
                                    day of May, 2023.                 I




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          Exhibit lo                                 '
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           Exhibit 11
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          Exhibit 112                                I




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           Exhibit 13
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          Exhibit 14
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           Exhibit 15
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